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 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                              Case No.: 15-CR-00286-DAD-1
11
                           Plaintiff,
12                                                           AMENDED APPLICATION TO
            v.                                               EXONERATE BOND AND DEEDS
13                                                           OF TRUST AND TO RECONVEY
      HAITHAM HABASH,                                        TITLE OF REAL PROPERTY;
14                                                           ORDER THERETO
15                         Defendant.

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17
           Defendant Haitham Habash hereby requests that this Court order the
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19   exoneration of the bond and Deeds of Trust, currently on file with their respective

20   county recorders, as follows:
21
           1) Deed of Trusts #2015R0797174 and #2015R0797175 posted by Haifa H.
22

23               Khoury on file with the Miami-Dade County Recorder;

24         2) Deed of Trust #20151584168 posted by Haitham Habash on file with the
25
                 Los Angeles County Recorder.
26
27         On December 22, 2015, a bond was ordered in the above-captioned matter to
28   be secured by a full equity bond of not less than $800,000 posted by Haifa Khoury
                                                            1.
                 U.S. v Haitham Habash, Case #15-CR-0286-DAD-1   Application to Exonerate Bond
     Case 1:15-cr-00286-DAD-BAM Document 460 Filed 09/16/19 Page 2 of 3


 1   on properties located on Bella Vista, Coral Gables, FL and on Lugo Ave, Coral
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     Gables, FL. The defendant was also to post a full equity bond of not less than
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 4   $150,000 on property located in Longdale, CA.

 5         On September 4, 2019, Defendant reported as ordered to serve his 63 months
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     sentence at the BOP designated facility, FCI Florence (See Exhibit A).
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 8         Therefore, since Defendant has satisfied the conditions of release in the
 9   Eastern District of California, he requests that his bond and the Deeds of Trust
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     (#2015R0797174 and #2015R0797175 on file with Miami-Dade County Recorder;
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12   and #20151584168 on file with the Los Angeles County Recorder) be exonerated and
13   title of the real properties described therein be reconveyed to Haifa H. Khoury and
14
     Haitham Habash.
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16                                                               Respectfully submitted,
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18   Date: September 13, 2019                                    s/ Shaun Khojayan
                                                                 Attorney for Defendant Habash
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                                                   ORDER
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           IT IS HEREBY ORDERED that the bond filed on December 22, 2015, and
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24   Deeds of Trust #2015R0797174 and #2015R0797175 posted by Haifa H. Khoury
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     on file with the Miami-Dade County Recorder be exonerated and title to the
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     properties described therein be reconveyed to Haifa H. Khoury. Further, the Deed
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28   of Trust #20151584168 posted by Haitham Habash on file with the Los Angeles

                                                            2.
            U.S. v Haitham Habash, Case #15-CR-0286-DAD-1        Application to Exonerate Bond
     Case 1:15-cr-00286-DAD-BAM Document 460 Filed 09/16/19 Page 3 of 3


 1   County Recorder shall also be exonerated and title to the property described therein
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     shall be reconveyed to Haitham Habash.
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 5   IT IS SO ORDERED.
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     Dated:    September 13, 2019                                           /s/   Sheila K. Oberto   .
 7                                                            UNITED STATES MAGISTRATE JUDGE
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                                                              3.
              U.S. v Haitham Habash, Case #15-CR-0286-DAD-1        Application to Exonerate Bond
